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                                                                      July 11, 2025


                                                                      Compass Commits to Sharing All
                                                                      Exclusive Inventory with All Brokerages
                                                                      and All MLSs
                                                                      000




                                                                             C O M PASS
                                                                                                                                                             0
                                                                      Compass is offering to share all exclusive inventory with any brokerage
                                                                      (including small brokerages) or MLS under two conditions meant to protect
                                                                      homeowners and their listing agents:

                                                                          e The brokerage or MLS agrees not to alter or monetize the homeowners'
                                                                            listings in any way, keeping the listing agent front and center.

                                                                          e The brokerage or MLS can ensure agents won't be fined or banned for
                                                                            sharing listings with the brokerage or MLS.
                                                                      If your organization can meet these terms, please reach out directly to
                                                                      robert@compass.com to start the conversation.


                                                                      About Compass
                                                                      Compass is the largest residential real estate brokerage in the United
                                                                      States by sales volume. Founded in 2072 and based in New York City,
                                                                      Compass provides an end-to-end platform that empowers its residential
                                                                      real estate agents to deliver exceptional service to seller and buyer clients.
                                                                       The platform includes an integrated suite of cloud-based software for
                                                                      customer relationship management, marketing, client service, brokerage
                                                                      services and other critical functionality, all custom-built for the real estate
                                                                      industry. Compass agents utilize the platform to grow their business, save
                                                                       time and manage their business more effectively For more information on
                                                                      how Compass empowers real estate agents, one of the largest groups of
                                                                      small business owners in the country, please visit www.compass.com.


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